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12                     UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
13                           WESTERN DIVISION

14
       TRUECAR, INC., et al.,                )
15                                           )
                   Plaintiffs,               )       Case No. CV 19-756-GW-AFMx
16                                           )
            v.                               )       ORDER
17                                           )
       BARAN, et al.,                        )
18                                           )
                   Defendants.               )
19                                           )
                                             )
20
21          Because the instant case is now moot, the Court finds that dismissal under
22 Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure is proper. Thus, the
23 claims asserted in this case are hereby dismissed without prejudice, and each party
24 shall bear its own costs, expenses, and attorney’s fees. IT IS SO ORDERED.
25
26 Dated: May 31, 2019                            _________________________
                                                  HON. GEORGE H. WU,
                                                  United States District Judge
